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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Fairly Odd Treasures, LLC                       )
                                                )
v.                                              )      Case No. 1:18-cv- 7719
                                                )
THE PARTNERSHIPS and                            )      Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A,”                     )      Magistrate: Susan E. Cox
                                                )
                                                )


                                SATISFACTION OF JUDGEMENT

           Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe
 #         Seller Name            Seller ID
     338   jungencolimited        55cb275ad056ea1045a4ebeb
     370   leioyong               56dee42c51f0cd168e6b9a0d
     520   red_homes              59afdfdf35e73b7a17074bf1
     687   xiangxiangtongzhuang   5b20af9ed1c36069cd25b8f9



dismisses them from the suit without prejudice.

Dated this 24th Day of June, 2019.              Respectfully submitted,


                                                By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record
                                                       Counsel for Plaintiff

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